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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                                                        21-cr-234 (PKC)

                  -against-                                                ORDER


PEDRO LOPEZ, GIOVANNI MARTINEZ,
and VERONICA NIEVES,

                                    Defendants.
-----------------------------------------------------------x

CASTEL, U.S.D.J.:


                 The next proceeding in this matter will take place on November 16, 2021 at 4 p.m.

The public may access an audio feed of the proceeding at the following number:

                 Dial-in: (888) 363-4749

                 Access Code: 3667981

                 Members of the public must mute their phones and are not permitted to speak

during the proceeding.



                  SO ORDERED.




Dated:     New York, New York
           November 15, 2021
